
718 S.E.2d 632 (2011)
ROYAL PALMS MHP, LLC, E. Alan Rusher, Robert D. Ellyson and Wife, Deborah K. Ellyson, and Walter D. Harris, III and Wife, Diane E. Harris
v.
CITY OF WILMINGTON, a North Carolina Municipality.
No. 289P11.
Supreme Court of North Carolina.
November 9, 2011.
James E. Eldridge, Wilmington, for Royal Palms MHP, LLC et. al.
Carolyn D. Johnson, City Attorney, for City of Wilmington.
Anthony Fox, Charlotte, for City of Wilmington.

ORDER
Upon consideration of the conditional petition filed on the 25th of July 2011 by Respondent in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed as Moot by order of the Court in conference, this the 9th of November 2011."
